      Case 2:05-cr-00168-LRS    ECF No. 165    filed 05/14/10   PageID.505 Page 1 of 2




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,
 8
                       Plaintiff,                NO. CR-05-168-4-LRS
 9
                 v.                              ORDER DENYING DEFENDANT’S
10                                               MOTION FOR EARLY TERMINATION
      PATRICK J. CALDWELL,
11
                       Defendant.
12

13

14        BEFORE THE COURT is Defendant’s Motion For Early Termination, Ct.

15   Rec. 161, filed on April 7, 2010 and the United States’ Response to

16   Motion for Early Termination, Ct. Rec. 164, filed on May 10, 2010.

17       On July 21, 2006, Mr. Caldwell was sentenced to forty-one

18 months   of   imprisonment      and   ten    years     of    supervised   release     for

19 conspiracy to possess with intent to distribute 50 grams or more of

20 actual methamphetamine.        Mr. Caldwell has completed that forty-one month

21 sentence and two years of his supervised release. Defendant requests that

22 the balance of his supervised release, or eight years, be terminated

23 based on a broad range of positive factors relating to his behavior since

24 his release from prison, i.e., stable full time employment, positive

25 credit history since release, being an active member of the community,

26 and maintaining a positive relationship with family and friends.


     ORDER ~ 1
      Case 2:05-cr-00168-LRS     ECF No. 165    filed 05/14/10   PageID.506 Page 2 of 2




1        The government concedes that there have been no issues regarding

2 Defendant’s supervision while on release but that it is premature to

3 consider this motion based on having served very little of his ten year

4 term of      supervised      release.        Further,    the    government    argues, U.S.

5 Probation has not identified Mr. Caldwell as being a candidate for early

6 release given the serious nature of the underlying crime and the length

7 of the original term of ten years supervised release imposed in this

8 case.      The government recommends that Defendant bring this motion after
9 he has served at least three years of the ten year supervised release

10 term.

11       The     Court   finds    the    government’s       position    is   reasonable   and

12 respectfully denies the instant motion at this time.

13       IT IS HEREBY ORDERED that Defendant’s Motion For Early Termination,

14 Ct. Rec. 161, is DENIED.

15       IT IS SO ORDERED.        The District Court Executive is directed to enter

16 this order and to provide copies to all counsel and the U.S. Probation

17 Office.

18       DATED this 14th         day of May, 2010.

19
                                        s/Lonny R. Suko
20
                                     LONNY R. SUKO
21                        Chief United States District Judge

22

23

24

25

26


     ORDER ~ 2
